Case 1:21-cv-04327-PAE Document 19 Filed 11/09/21 Page 1of1

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

THE TRAVELERS INDEMNITY COMPANY OF

AMERICA,

21 Civ. 4327 (PAE)
Plaintiff,

-y- ORDER

TRISURA SPECIALTY INSURANCE COMPANY,

Defendant.

 

 

PAUL A. ENGELMAYER, District Judge:

A case management conference is hereby scheduled for January 4, 2022, at 9:30 a.m.
Due to the current public health situation, that conference will be a telephonic conference. The
parties should call into the Court’s dedicated conference line at (888) 363-4749, and enter
Access Code 468-4906, followed by the pound (#) key. Counsel are directed to review the
Court’s Emergency Individual Rules and Practices in Light of COVID-19, found at
https://nysd.uscourts.gov/hon-paul-engelmayer, for the Court’s procedures for telephonic
conferences and for instructions for communicating with chambers. If either party wishes to
move for summary judgment, they are to file a pre-motion letter no later than 14 days following

the close of fact discovery, in accordance with Rule 3.H of the Court’s Individual Rules.

SO ORDERED,

 

 

PAUL A.ENGELMAYER  /
United States District Judge
Dated: November 9, 2021

New York, New York
